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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA
                                     MIAMI DIVISION

                                         Civil Action Number:

     JESUS GONZALEZ

            Plaintiff,
     vs.

     CARRABBA'S ITALIAN GRILL, LLC
     d/b/a Carrabba’s Italian Grill
     at 9231 W Flagler Street and
     CJUF III FLAGER LLC

                   Defendants.
                                                   /

                            COMPLAINT FOR INJUNCTIVE RELIEF

            Plaintiff Jesus Gonzalez (“Plaintiff”), by and through his undersigned counsel,

     hereby sues Defendant Carrabba’s Italian Grill, LLC doing business as Carrabba’s Italian

     Grill at 9231 W Flagler Street and Defendant CJUF III Flagler, LLC for injunctive relief

     pursuant to 42 U.S.C. §§12181-12189 of the Americans with Disabilities Act (“ADA”) and

     28 C.F.R. Part 36 and alleges:

                                           JURISDICTION

            1.      This is an action for declaratory and injunctive relief pursuant to Title III of

     the Americans with Disabilities Act (“ADA”) 42 U.S.C. §§12181-12189. This Court is

     vested with original jurisdiction under 28 U.S.C. §1331.

            2.      Venue is proper in the Court, pursuant to 28 U.S.C. §1391(b) in that all

     events giving rise to this lawsuit occurred within the Southern District of Florida and the

     subject premises is located within the jurisdiction of this Court.




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            3.      Defendants are authorized to conduct, and are conducting, business within

     the State of Florida and within the jurisdiction of this court.

                                                PARTIES

            4.      Plaintiff Jesus Gonzalez is a resident of the state of Florida. Plaintiff has a

     “qualified disability” under the ADA as he is disabled with neuropathy and nerve damage

     due to radiation and utilizes a wheelchair for mobility. Plaintiff’s disability is defined in 42

     US Code §12102(1)(A), (2) and in 28 C.F.R. §36.105(b)(2) and 28 C.F.R.

     §36.105(2)(iii)(D).

            5.      Defendant Carrabba’s Italian Grill, LLC (also referenced as “Defendant

     Carrabba’s,” “operator,” lessee” or “co-Defendant”) is a Florida limited liability company

     which is a subsidiary of Carrabba’s Italian grill restaurant chain headquartered in Tampa,

     Florida. The parent company is itself a subsidiary of Bloomin’ Brands which is a restaurant

     holding company listed on the NASDAQ exchange and is a member of the S&P 500

     component and the Russell 2000 component. Bloomin’ Brands also owns Outback

     Steakhouses, Bonefish Grill, and Flemings Prime Steakhouse branded restaurants. There are

     247 Carrabba’s restaurant locations throughout the United States, Brazil and Canada.

            6.      Defendant CJUF III Flagler, LLC (also referenced as “Defendant Flagler,”

     “lessor,” “owner,” or “co-Defendant”) is a foreign limited liability company authorized to

     transact business in Florida and is the owner of real property located at 9191 W Flagler

     Street, Miami Florida 33174 more fully designated as Folio 30-4004-085-0010 which

     property also includes the address 9231 West Flagler. Defendant Flagler’s real property is

     built out as a mixed-use community shopping center.




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                                                 FACTS

            7.      Defendant Flagler leases its mixed-use community shopping center (in part)

     to an LA Fitness health club, a Firehouse Subs sandwich shop, a Chick-fil-A fast food

     restaurant, a Walmart Supercenter, an optometry store and the Carrabba’s Italian grill

     restaurant which is the subject of this instant action to co-Defendant Carrabba’s (the lessee).

     The lessee in turn operates its Carrabba’s Italian Grill restaurant within that leased space.

            8.      The Carrabba’s Italian Grill restaurant on Flagler serves food and drinks and

     is open to the general public and therefore is a place of public accommodation pursuant to

     42 U.S.C. §12181(7)(B) as “[A] restaurant, bar, or other establishment serving food or

     drink.” The Carrabba’s Italian Grill on Flagler restaurant which is the subject to this action

     is also referred to as “Carrabba’s Italian Grill (restaurant),” “Carrabba’s restaurant on

     Flagler,” “restaurant,” or “place of public accommodation.”

            9.      Carrabba’s Italian Grill restaurants are a chain of casual Italian style

     restaurants. As the owner/operator of a chain of restaurants open to the public, Defendant

     Carrabba’s is defined as a “Public Accommodation" within meaning of Title III because it is

     a private entity which owns and operates establishments serving food and drinks; 42 U.S.C.

     §12182, §12181(7)(B); 28 C.F.R. §36.104(2).

            10.     Due to the close proximity of family and friends in the area that Plaintiff

     frequently visits, , on November 17, 2021 Plaintiff went to the restaurant with the intent of

     purchasing a meal and eating in the dining area located therein.

            11.     On patronizing the Carrabba’s restaurant on Flagler, Plaintiff perambulated

     to the restroom and while in the restroom Plaintiff met multiple areas of inaccessibility due

     to the fact that he is confined to his wheelchair.




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            12.     Due to the inaccessible restroom facilities, Plaintiff has been denied full and

     equal access by the co-Defendants.

            13.     While Plaintiff had purchased and ate a meal at the Carrabba’s Italian Grill

     restaurant, Plaintiff left feeling excluded, humiliated and dejected.

            14.     Plaintiff has been denied full and equal access to, and full and equal

     enjoyment of the Carrabba’s restaurant on Flagler.

            15.     On information and belief, Defendant Carrabba’s is well aware of the need to

     provide equal access to individuals with disabilities as its Carrabba’s Italian Grill restaurant

     on Flagler is part of an international chain of branded restaurants. Defendant’s failure to

     reasonably accommodate individuals with disabilities at its 9231 West Flagler Street

     restaurant location is/was willful, malicious and oppressive and in compete disregard for the

     Civil Rights of Plaintiff and in violation of 28 C.F.R. §36.302.

            16.     As the owner of a mixed-use community shopping center which is open to

     the general public and which includes several restaurants (including the subject Carrabba’s),

     Defendant Flagler is also defined as a “Public Accommodation" within meaning of Title III;

     42 U.S.C. §12182, §12181(7)(B) and 28 C.F.R. §36.104(2). As an investor in commercial

     property, Defendant Flagler is aware of the ADA and the need to provide for equal access,

     therefore its failure to reasonably accommodate individuals with disabilities is/was willful,

     malicious, and oppressive and in compete disregard for the Civil Rights of Plaintiff and in

     violation of 28 C.F.R. §36.302.

            17.     Based on the access impediments delineated herein, Plaintiff has been denied

     full and equal access by the operator of that restaurant (Defendant Carrabba’s) and by the

     owner of the commercial property which houses the restaurant (Defendant Flagler).




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             18.       As a result of the joint and several discrimination by Defendants, Plaintiff

     has suffered loss of dignity, mental anguish and other tangible injuries and has suffered an

     injury-in-fact.

             19.       Plaintiff is and has been a customer of Carrabba’s Italian Grill restaurants

     and continues to desire to return to the Carrabba’s restaurant 9231 West Flagler Street

     location to purchase a meal and dine in the area provided and/or test for compliance with the

     ADA/ADAAG, but Plaintiff continues to be injured in that he is concerned that he will

     again be humiliated, segregated, and discriminated against due to the architectural barriers

     and other barriers to access, all which are in violation of the ADA.

             20.       Any and all requisite notice has been provided.

             21.       Plaintiff has been obligated to retain the civil rights law office of J. Courtney

     Cunningham, PLLC and has agreed to pay a reasonable fee for services in the prosecution of

     this cause, including costs and expenses incurred. Plaintiff is entitled to recover those

     attorney’s fees, costs and expenses from Defendants pursuant to 42 U.S.C. §12205.

                       COUNT I – VIOLATIONS OF TITLE III OF THE ADA

             22.       The ADA was enacted and effective as of July 26, 1990 and ADA legislation

     has been protecting disabled persons from discrimination due to disabilities since that time.

     Over thirty years have passed since enactment of the ADA and there is no excuse for public

     accommodations and places of public accommodation to have failed to comply with the

     legislation.

             23.       Congress explicitly stated that the purpose of the ADA was to:

            (i)        provide a clear and comprehensive national mandate for the
                       elimination of discrimination against individuals with disabilities;
            (ii)       provide clear, strong, consistent, enforceable standards addressing
                       discrimination against individuals with disabilities; and,



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            (iii)   invoke the sweep of congressional authority, including the power to
                    enforce the fourteenth amendment and to regulate commerce, in
                    order to address the major areas of discrimination faced on a daily
                    by people with disabilities.

                    42 U.S.C. §12101(b)(1)(2) and (4).

            24.     Prior to the filing of this lawsuit, Plaintiff personally visited the Carrabba’s

     Italian Grill restaurant on Flagler in order to purchase and eat a meal in the dining area

     provided therein and to test for compliance with the ADA/ADAAG, however Plaintiff was

     denied adequate accommodation because, as a disabled individual who utilizes a wheelchair

     for mobility, he met barriers to access. Therefore, Plaintiff has suffered an injury in fact.

            25.     Defendant Carrabba’s (operator of the Carrabba’s restaurant on Flagler) and

     Defendant Flagler (owner of the commercial property operated as that Carrabba’s

     restaurant) have discriminated (and continue to discriminate) against Plaintiff by denying

     full and equal access to, and full and equal enjoyment of, goods, services, facilities,

     privileges, advantages and/or accommodations at that restaurant in derogation of 42 U.S.C.

     §12101 et seq., and as prohibited by 42 U.S.C. §12182 et seq. by failing to barriers to access

     pursuant to 42 U.S.C. §12182(b)(2)(a)(iv), where such removal is readily achievable.

            26.     Plaintiff has been unable to, and continues to be unable to, enjoy full and

     equal safe access to, and the benefits of, the accommodations and services offered at the

     Carrabba’s restaurant on Flagler.

            27.     Defendants are jointly and singularly governed by the ADA and must be in

     compliance therewith. Defendants have jointly and severally discriminated against disabled

     patrons in derogation of 28 C.F.R. Part 36.

            28.     Pursuant to the mandates of 42 U.S.C. §12134(a), on July 26, 1991 (as

     amended), the Department of Justice, Office of the Attorney General, promulgated Federal



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     Regulations to implement the requirements of the ADA, known as the Americans with

     Disabilities Act Accessibility Guidelines (hereinafter “ADAAG”), 28 C.F.R. Part 36, under

     which said Department may obtain civil penalties of up to $75,000 for the first violation and

     $150,000 for any subsequent violation.

             29.     The mixed-use community shopping center which is owned by Defendant

     Flagler houses a Carrabba’s restaurant which is operated by Defendant Carrabba’s. This

     commercial space is in violation of 42 U.S.C. §12181 et seq., the ADA and 28 C.F.R.

     §36.302 et seq. and both the owner/lessor and the tenant/lessee are discriminating against

     Plaintiff as a result of inter alia the following specific violations:

       i.    As to Defendant Carrabba’s (lessee/operator) and Defendant Flagler (owner/lessor of

             the property) (jointly and severally), Plaintiff could not enter the lavatory without

             assistance, as the pull strength needed to open the door was too great since Plaintiff

             is confined to his wheelchair. Failure to provide accessible entry to the public

             restroom due to the excessive weight of the door at the restroom entrance is in

             violation of 28 C.F.R. Part 36, Section 4.13.11(b) of the ADAAG and 404.2.9 of the

             2010 ADA Standards for Accessible Design. Section 4.13.11(b) states that the door

             opening force for interior hinged doors shall not exceed 5 lbf (22.2N). The door

             represents an insurmountable barrier to independent entry to the restroom by the

             Plaintiff and other individuals who use wheelchairs.

      ii.    As to Defendant Carrabba’s (lessee/operator) and Defendant Flagler (owner/lessor of

             the property) (jointly and severally), Plaintiff had difficulty closing the stall door, as

             the toilet compartment stall door was missing pull handles on both sides of the door

             near the latch. This is a violation of 28 C.F.R. Part 36, Section 4.27.4 of the ADAAG




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             which states that controls and operating mechanisms shall be operable with one hand

             and shall not require tight grasping, pinching, or twisting of the wrist. The forces

             required to activate controls shall be no greater than 5 lbf (22.2 N). This is also a

             violation §604.8.1.2 of the 2010 ADA Standards for Accessible Design which states

             that toilet compartment doors, including door hardware, shall comply with §404;

             specifically, §§404.2.7 and 309.4: “operable parts of such hardware shall be 34

             inches (865 mm) minimum and 48 inches (1220 mm) maximum above the finish

             floor or ground.”

      iii.   As to Defendant Carrabba’s (lessee/operator) and Defendant Flagler (owner/lessor of

             the property) (jointly and severally), Plaintiff could not transfer to the toilet without

             assistance, as the required maneuvering clearance was not provided due to the

             encroaching item (trash can), which encroaches over the accessible water closet clear

             floor space. This is a violation of Section 4.16.2 of the ADAAG (which specifies the

             amount of space required at an accessible toilet, which includes clear floor space

             around fixtures) and Section 604.3.1 of the 2010 ADA Standards for Accessible

             Design which states that water closet clearance shall be 60 inches (1525 mm)

             minimum measured perpendicular from the side wall and 56 inches (1420 mm)

             minimum measured perpendicular from the rear wall).

      iv.    As to Defendant Carrabba’s (lessee/operator) and Defendant Flagler (owner/lessor of

             the property) (jointly and severally), Plaintiff could not use the soap dispenser inside

             the stall without assistance, as the lavatory soap dispenser is not mounted in the

             required location in violation of 28 C.F.R. Part 36. The soap dispenser is not

             mounted in accordance with the forward reach guidelines delineated at Section 4.2.5




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            (Fig 5) of the ADAAG. This is also a violation of the 2010 ADA Standards for

            Accessible Design, specifically Section 606.1 which states that when soap and towel

            dispensers are provided, they must be within the reach ranges specified in Section

            308.2.1. This section states that, where a forward reach is unobstructed, the high

            forward reach shall be 48 inches (1220 mm) maximum and the low forward reach

            shall be 15 inches (380 mm) minimum above the finished floor or ground.

      v.    As to Defendant Carrabba’s (lessee/operator) and Defendant Flagler (owner/lessor of

            the property) (jointly and severally), Plaintiff could not use the lavatory mirror

            (inside the stall) as the lavatory mirror is mounted too high, which is in violation of

            Section 213.3.5 of 28 C.F.R. Part 36, Section 4.19.6 of the ADAAG, and Section

            603.3 of the 2010 ADA Standards for Accessible Design.

      vi.   As to Defendant Carrabba’s (lessee/operator) and Defendant Flagler (owner/lessor of

            the property) (jointly and severally), Plaintiff could not use the lavatory sink (outside

            the stall) without assistance, as the lavatory sink does not provide the appropriate

            knee clearance of at least 27 in (685 mm) high 30 in (760 mm) wide, and 19 in 485

            mm) deep underneath the sink, in violation of 28 C.F.R. Part 36, Section 4.24.3;

            2010 ADA Standards for Accessible Design and Sections 4.19.2 and 4.2.4 of the

            ADAAG and Sections 606.2 and 305.3 of the 2010 ADA Standards for Accessible

            Design.

     vii.   As to Defendant Carrabba’s (lessee/operator) and Defendant Flagler (owner/lessor of

            the property) (jointly and severally), Plaintiff was exposed to a cutting/burning

            hazard at the lavatory sink which does not have completely wrapped bottom sink

            pipes, therefore there is no proper insulation protecting users of that sink against the




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             plumbing pipes under the sink. This is a violation of Section 4.19.4 of the ADAAG

             which states that hot water and drain pipes under lavatories shall be insulated or

             otherwise configured to protect against contact. This is also a violation of Section

             606.5 of the 2010 ADA Standards for Accessible Design, because the lavatory pipes

             are not fully wrapped or maintained.

     viii.   As to Defendant Carrabba’s (lessee/operator) and Defendant Flagler (owner/lessor of

             the property) (jointly and severally), Plaintiff could not use the soap dispenser

             outside the stall without assistance, as the lavatory soap dispenser is not mounted in

             the required location in violation of 28 C.F.R. Part 36. The soap dispenser is not

             mounted in accordance with the forward reach guidelines delineated at Section 4.2.5

             (Fig 5) of the ADAAG. This is also a violation of the 2010 ADA Standards for

             Accessible Design, specifically Section 606.1 which states that when soap and towel

             dispensers are provided, they must be within the reach ranges specified in Section

             308.2.1. This section states that, where a forward reach is unobstructed, the high

             forward reach shall be 48 inches (1220 mm) maximum and the low forward reach

             shall be 15 inches (380 mm) minimum above the finished floor or ground.

      ix.    Plaintiff could not exit the restroom area without assistance, as the required

             maneuvering clearance on the pull side of the door is not provided due to the trash

             bin. This is a violation of Section 4.13.6 of the ADAAG which states that the

             minimum maneuvering clearances for doors be within specifications shown in Fig.

             25 and that the ground floor within the required clearance be level and clear. The

             clear maneuvering clearance for a front approach must be 48 min (and for side

             approach, 54 by 42 min), which not attained in the instant case. This is also a




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            violation of Section 404.2.4 of the 2010 ADA Standards for Accessible Design

            which states that minimum maneuvering clearances at doors and gates shall comply

            with (the table at) 404.2.4; in this instance, the encroaching trash bin is in violation

            of the minimum required maneuvering clearances.

            30.      Pursuant to 42 U.S.C. §12101et seq. and 28 C.F.R. §36.304, Defendants are

     required to make the Carrabba’s restaurant on Flagler accessible to persons with disabilities

     since January 28, 1992. Defendants have jointly and severally failed to comply with this

     mandate.

            31.      Pursuant to 42 U.S.C. §12188, this Court is vested with the authority to grant

     Plaintiff injunctive relief, including an order to alter the commercial property and the

     restaurant therein such that it is made readily accessible to, and useable by, individuals with

     disabilities to the extent required by the ADA.

            WHEREFORE, Plaintiff Jesus Gonzalez hereby demands judgment against

     Defendant CJUF III Flagler, LLC (owner of the mixed-use community shopping center

     housing the Carrabba’s Italian Grill restaurant) and Defendant Carrabba’s Italian Grill, LLC

     (the operator of the restaurant) and requests the following relief:

                a)       The Court declare that Defendants have violated the ADA;

                b)       The Court enter an Order directing Defendants to evaluate and neutralize

                their policies, practices and procedures toward persons with disabilities,

                c)       The Court enter an Order requiring Defendants to alter the commercial

                property and the Carrabba’s Italian Grill restaurant located therein such that all

                areas are accessible to and usable by individuals with disabilities to the full extent

                required by the Title III of the ADA;




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               d)       The Court award reasonable costs and attorneys fees; and

               e)       The Court award any and all other relief that may be necessary and

               appropriate.

     Dated this 27th day of January 2022.

                                                Respectfully submitted,

                                                /s/ J. Courtney Cunningham
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